The board of education of Dodge County acted within the powers conferred on it by the Code, §§ 32-915, 32-1102, in consolidating Empire, a county line school, with Dodge High School, and the judgment denying mandamus absolute to compel the board to operate Empire school, upon the petition therefor by the trustees of said school, was not erroneous.
                      No. 14737. NOVEMBER 30, 1943.
R. L. Fordham and others as trustees of the Empire Consolidated School District, a county line school lying partly in Dodge and partly in Bleckley County, brought mandamus proceedings against M. W. Harrell, the superintendent of schools of Dodge County, and the members of the board of education of Dodge County. The prayers were that the respondents be required to continue to operate the school, employ teachers, supply necessary books and equipment, furnish transportation for the children, and perform all acts necessary in the legal operation of the school.
The petition alleged that the Empire School District was created several years ago by the concurrent action of the boards of education of the counties of Dodge and Bleckley. The school buildings are located in Dodge County. Since its creation, the school has been operated and maintained as a county line school under the supervision of the board of education of Dodge County. On March 3, 1942, the Dodge County board of education, passed an order consolidating all that portion of the Empire School District which lies in Dodge County with the Dodge High School District, the same to become effective at the end of the 1941-1942 school term. The Dodge County board of education, however, did operate and support the Empire school throughout the school term of 1942-1943. On September 7, 1943, the Dodge County board of education passed another order: "The board has determined that it is for the best interest of the school children of Empire Consolidated School District, . . that the school in said district not be operated during the school year 1943-1944 and future years. The board has further determined that it is for the best interest of the school children that they attend school in the Dodge High District. Therefore, it is herein ordered that no school be operated in the Empire School District in 1943-1944 and future years *Page 136 
and that the school children in said district attend school at the Dodge High School."
The Bleckley County board of education refused to pass an order consenting to the dissolution of the Empire School District, but it does not appear that such board has objected to the children of Empire School being taught at the Dodge High School. All the trustees of Empire school, three of them living in Dodge and two in Bleckley County, did object to the dissolution of the school.
At the hearing before the judge by consent without a jury, the evidence authorized a finding that Dodge High School was better equipped to educate the children, than Empire.
The exception is to an order refusing to make the mandamus absolute.
This court has held that the law vests full power and authority for the operation of schools in the county boards of education. Trustees may recommend, but the power to employ teachers is exclusively in the county board of education.Carter v. Johnson, 186 Ga. 167 (197 S.E. 258). The county board of education has authority to provide for the transportation of children from one district to another. Keever
v. Board of Education, 188 Ga. 299 (3 S.E.2d 886). Courts will not ordinarily interfere in controversies relating to schools, but their administration should be left to the county board of education. Davis v. Haddock, 191 Ga. 639
(13 S.E.2d 657). The county board of education is vested with a discretion as to consolidation of schools, located in the same or different districts. Bramlett v. Callaway, 192 Ga. 8 (14 S.E.2d 454). Contracts made by school trustees under powers conferred by the Code, § 2-6901, are subject to approval by the county board of education. Downer v. Stevens, 194 Ga. 598
(22 S.E.2d 139).
Counsel for the plaintiff in error recognizes the general power and authority vested in the county board to operate schools, but insists that the power to cease operation of a county line school is the power to destroy or abolish the same, which can only be accomplished by the concurrent action of the county board of education of each county, and that the board of education is attempting to do indirectly what it can not do directly. The answer to this contention is, that the facts of the instant case do not involve an attempt to abolish the county line school district. Stated another *Page 137 
way, this case involves the right of a county board of education, having supervision of a county line school, to cease operation of such school, and to order that all the pupils, regardless of which county they live in, be transported to another school in a different district.
While the order dated March 3, 1942, was objectionable under the ruling in McRae v. Grace, 179 Ga. 872 (177 S.E. 707), that "where a consolidated school district is legally and duly created by concurrent action of the authorities of two adjoining counties, such district cannot be destroyed or abolished except in some manner provided by law," that order was never put into operation. On the contrary the board of education of Dodge County operated the Empire school another year, after which an order was passed on September 7, 1943, consolidating the Empire school with Dodge High School. The Code, § 32-1102, declares in part: "By concurrent consent and action, boards of education of two or more adjoining counties may lay off and define school districts without regard to county lines: provided, that the board of education of the county in which the school-house is located shall have supervision of same." Under the above statute, the Empire school was under the supervision of the county board of education of Dodge County, the county in which the school-house was located, just the same as it would have been in the event all of the territory embraced in the county line district had been in Dodge County. The management of county schools being largely intrusted to the county boards of education and the legislature having invested them with a wide discretion, the board of education of Dodge County had authority to cease operation of the Empire school, and to order that all the children in the county line district be transported to the Dodge High School. As aptly stated by the trial judge: "Dodge County still has its financial responsibility, and its board of education has the liability and the responsibility to see that every child in this district attends school, the very best school it can provide for it, whether it is on this site or somewhere else. As to what is best for the school pupils and what is the best educational interest of that particular district, is vested in the board of education of Dodge County."
Under the facts of this case the trial court did not err in refusing to make the mandamus absolute.
Judgment affirmed. All the Justices concur. *Page 138 